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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )     CRIMINAL ACTION 10-00100-KD
                                                  )
DAVID LEE RILEY,                                  )
     Defendant.                                   )

                                              ORDER

       This matter is before the Court on Defendant David Lee Riley’s Unopposed Brief and

Memorandum of Law Pursuant to 28 U.S.C. § 2255, which the Court construes as a motion to

vacate, set aside or correct sentence (Doc. 125),1 and the Government’s response thereto (Doc.

126). Upon consideration, and for the reasons set forth herein, Petitioner’s motions are due to

be GRANTED.

I.     Procedural Background

       On July 20, 2010, Defendant pled guilty to conspiring to possess crack cocaine with

intent to distribute in violation of 21 U.S.C. § 846.    (Doc. 38).   As a consequence of the fact

that he was held accountable for 21.62 grams of crack cocaine, Defendant faced a mandatory

minimum imprisonment term of five years under the statutory scheme in place at the time of his
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     Though Defendant has filed only a memorandum of law without also filing a properly styled
motion, it is clear to the Court that Defendant intended for his brief to be construed as a collateral
attack on his sentence. See Doc. 125 at 1 (“Riley requests relief by way of this § 2255 from this
Honorable Court pursuant to Dorsey” (emphasis added)); id. at 3 (“Riley . . . requested that
counsel file this § 2255 seeking Dorsey relief on his behalf.”). The Court’s understanding is
apparently shared by the Government, which referred to Doc. 125 in its response as “Riley’s
counseled 28 U.S.C. § 2255 motion.” (Doc. 126 at 1). Because the Court is merely accepting
Defendant’s incomplete submission as the § 2255 motion that it purports to be, it is not necessary
to issue Defendant any of the prophylactic warnings prescribed in Castro v. United States, 540
U.S. 375 (2003). Nonetheless, the Court notes that defense counsel warned Defendant that her
filing a § 2255 on his behalf would raise only the issue of Dorsey error, that Defendant would be
barred thereafter from filing a second or successive § 2255 petition without authorization, and
that Defendant asked counsel to proceed accordingly. (Doc. 125 at 3).


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offense.    See 21 U.S.C. 841(b)(1)(B)(iii) (2006) (prescribing term of imprisonment of not less

than five years and no more than 40 years if defendant’s offense involves five grams or more of a

mixture or substance containing cocaine base).      At a sentencing hearing held on January 21,

2011, the Court sentenced Defendant to the statutory minimum term of 60 months.     (Doc. 95).

II.       Legal Context

          The Court recently summarized the pertinent legal context in United States v. Wilburn,

Nos. 10-00087-KD & 10-00188-KD, 2012 WL 2838251, at *1-2 (S.D. Ala. July 10, 2012).

The highlights are these: Congress enacted the Fair Sentencing Act of 2010 (“FSA”) on August

3, 2010.     The FSA sought to reduce the disparity between federal criminal penalties for crack

cocaine and powder cocaine offenses by increasing the drug quantities necessary to trigger the

statutory minimums.       Last month, the United States Supreme Court held that the FSA’s new

mandatory minimum sentencing provisions to all sentencings on or after August 3, 2010,

regardless of when the offense conduct took place. See Dorsey v. United States, 132 S. Ct. 2321

(2012).

III.      Conclusion

          The FSA applies to Defendant, who was sentenced after the FSA’s enactment.         The

crack cocaine quantity for which Defendant is accountable fails to trigger a post-FSA statutory

minimum.       See 21 U.S.C. § 841(b)(1)(B)(iii) (2006 & Supp. V 2011) (prescribing no

mandatory minimum for offenses involving less than 28 grams of crack cocaine).     Accordingly,

Defendant’s motion to vacate, set aside or correct sentence (Doc. 125) is GRANTED, and the

sentence previously imposed is hereby VACATED.

          Whereas Defendant has waived his right to appear for a resentencing hearing (Doc. 125

at 5), whereas Defendant and the Government jointly recommend that Defendant be resentenced




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at the low-end of the applicable advisory guideline range2 (Doc. 125 at 5; Doc. 126 at 1), and

whereas the Court finds after consideration of the factors set forth in 18 U.S.C. § 3553(a) that a

sentence at the low-end of the advisory guideline range addresses the seriousness of the offense

and the sentencing objectives of punishment, deterrence, and incapacitation, Defendant is hereby

RESENTENCED to a term of imprisonment of 46 months.

       The Clerk of Court is DIRECTED to enter forthwith an Amended Judgment in

accordance with the foregoing.3

       DONE and ORDERED this 10th day of August 2012.

                                             /s/ Kristi K DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE




2
    Because Defendant is accountable for 21.62 grams of crack cocaine and 75.7 grams of
marijuana, his post-FSA and post-Amendment 750 base offense level is 22. U.S. Sentencing
Guidelines Manual § 2D1.1(c)(9) (2011). Defendant did not receive any Chapter 3 adjustments
at sentencing, and none are applied now. (Docs. 87 & 97). Defendant has three criminal
history points, which corresponds to a criminal history category of II. (Id.). The advisory
guideline range for an offender with an offense level of 22 and criminal history category of II is
46-57 months. U.S. Sentencing Guidelines Manual ch. 5, pt. A (2011).
3
   But for the length of Defendant’s term of imprisonment, all provisions of the original
Judgment shall remain in effect.

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